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10
                              UNITED STATES DISTRICT COURT
11
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
      UNITED STATES OF AMERICA,                No. CR 2:24-cr-00091-ODW
13
                 Plaintiff,                    GOVERNMENT’S APPLICATION FOR
14                                             REVIEW OF MAGISTRATE JUDGE’S BAIL
                      v.                       ORDER; MEMORANDUM OF POINTS AND
15                                             AUTHORITIES; EXHIBITS
      ALEXANDER SMIRNOV,
16
                 Defendant.
17

18

19
           Plaintiff United States of America, by and through its counsel
20
      of record, the Office of Special Counsel David C. Weiss, hereby
21
      applies to Honorable Judge Otis D. Wright for review of the February
22
      20, 2024, order of bail release upon conditions issued by the
23
      Honorable Magistrate Judge Daniel J. Albregts, of the United States
24
      District Court for the District of Nevada.             The government moved
25
      Magistrate Judge Albregts to stay his order, which he denied.
26
      //
27

28
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1          The government continues to seek detention. In support of its

2     continued request for detention, the government proffers (1) the

3     contents of the Pre-Trial Services Report but not its conclusion; (2)

4     the indictment, charging defendant with making a false statement to

5     law enforcement, in violation of 18 U.S.C. § 1001 and causing the

6     creation of a false and fictitious record in a federal investigation,

7     in violation of 18 U.S.C. § 1519; (3) the attached memorandum of

8     points and authorities; (4) the exhibits to that memorandum of points

9     and authorities; and (5) such further argument or evidence as may be
10    requested by the Court at the hearing on this matter.
11

12
       Dated: February 21, 2024
13
                                        Respectfully submitted,
14
                                        DAVID C. WEISS
15                                      Special Counsel

16

17
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18                                      Principal Senior Assistant Special
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23                                      United States Department of Justice

24

25

26

27

28

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1                           MEMORANDUM OF POINTS AND AUTHORITIES

2                                     I.      INTRODUCTION
3            No condition or combination of conditions will reasonably assure
4     the appearance of the defendant Alexander Smirnov as required.                     See
5     18 U.S.C. § 3142 (e)(1); see also United States v. Hir, 517 F.3d 1081,
6     1086 (9th Cir. 2008). As discussed in more detail below, the nature
7     and circumstances of the offense, weight of the evidence, and the fact
8     that Smirnov’s ties to the community are weak establish that Smirnov
9     should be detained.        But, in addition, there are four indisputable
10    facts related to the characteristics of Smirnov that compel detention.
11           First,   he    claims   to    have    contacts       with   multiple   foreign
12    intelligence agencies and had plans to leave the United States two
13    days after he was arrested last week for a months-long, multi-country
14    foreign trip.        During this trip, the defendant claimed to be meeting
15    with    foreign      intelligence    contacts.      Those     foreign   intelligence
16    agencies could resettle Smirnov outside the United States if he were
17    released.
18           Second, he has access to over $6 million in liquid funds—more
19    than enough money for him to live comfortably overseas for the rest
20    of his life.
21           Third, Smirnov did not disclose to Pretrial Services his access
22    to these funds.       He told Pretrial Services he only had $1,500 in cash-
23    on-hand and $5,000 in a personal checking account.                 See Exhibit 11 at
24    page 2.     As the attached bank statements make clear, as of the end-
25    of-December, Smirnov has access to more than $2.9 million, see Exhibit
26    4 (under seal) and his wife/girlfriend (he refers to her both ways)
27    (hereafter “DL”) has access to more than $3.8 million, see Exhibit 7
28    (under seal).        The latter’s funds are available to him because most
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1     of the money in DL’s account originated with Smirnov and she pays his

2     personal expenses out of her account; in other words, these appear to

3     be shared funds or funds controlled by Smirnov, regardless of whose

4     name is on the bank account.      The fact that Smirnov misrepresented his

5     assets alone should cause Smirnov to be detained because it shows

6     that, at the first opportunity, he did not provide true and complete

7     information to Pretrial Services.

8          Fourth, as an Israeli citizen, Smirnov can obtain a new passport

9     at any time by visiting an Israeli consulate.                The closest Israeli
10    consulate is approximately 5 hours away in Los Angeles, California.
11    Thus, even if he turns in his U.S. and Israeli passports, Pretrial
12    Services has no way to prevent him from obtaining a new Israeli
13    passport and leaving the United States using it at any time.
14                 II.    STATEMENT OF FACTS AND PROCEDURAL HISTORY
15         Smirnov was a confidential human source (“CHS”) with the Federal
16
      Bureau of Investigation (“FBI”).         Indictment ¶ 2.        As a CHS, Smirnov
17
      was assigned a handling agent (hereafter “the Handler”) who was a
18
      special agent on an FBI squad that investigated violations of federal
19
      criminal law.      Id.
20

21         Despite repeated admonishments that he must provide truthful

22    information to the FBI and that he must not fabricate evidence, Smirnov

23    provided false derogatory information to the FBI about Public Official
24    1, an elected official in the Obama-Biden Administration who left
25
      office in January 2017, and Businessperson 1, the son of Public
26
      Official 1, in 2020, after Public Official 1 became a candidate for
27
      President of the United States of America.              Id. at ¶ 6.
28

                                               2
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1          In March 2017, Smirnov reported to the Handler that he had had a
2     phone call with the owner of Ukrainian industrial conglomerate Burisma
3
      Holdings,     Limited    (hereafter      “Burisma       Official   1”)    concerning
4
      Burisma’s interest in acquiring a U.S. company and making an initial
5
      public offering (“IPO”) on a U.S.-based stock exchange. Id. at ¶ 6(a).
6
      In reporting that conversation to the Handler, Smirnov also noted that
7

8     Businessperson 1, Public Official 1’s son, was a member of Burisma’s

9     Board, a fact that was publicly known.            Id.

10         Three years later, in June 2020, Smirnov reported, for the first
11    time,   two   meetings   in    2015    and/or   2016,     during   the   Obama-Biden
12
      Administration,    in    which   he     claimed   executives       associated    with
13
      Burisma, including Burisma Official 1, admitted to him that they hired
14
      Businessperson 1 to “protect us, through his dad, from all kinds of
15
      problems,” and later that they had specifically paid $5 million each
16

17    to Public Official 1 and Businessperson 1, when Public Official 1 was

18    still in office, so that “[Businessperson 1] will take care of all

19    those issues through his dad,” referring to a criminal investigation
20
      being conducted by the then-Ukrainian Prosecutor General into Burisma
21
      and to “deal with [the then-Ukrainian Prosecutor General].”                   Id. at
22
      ¶ 6(b).
23
           Smirnov also reported two purported phone calls between himself
24

25    and Burisma Official 1 wherein Burisma Official 1 stated that he had

26    been forced to pay Public Official 1 and Businessperson 1 and that it

27    would take investigators 10 years to find records of illicit payments
28    to Public Official 1.         Id. at ¶ 6(c).
                                                3
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1          The events Smirnov first reported to the Handler in June 2020
2     were fabrications.      Id. at ¶ 6(d).      In truth and fact, Smirnov had
3
      contact with executives from Burisma in 2017, after the end of the
4
      Obama-Biden Administration and after the then-Ukrainian Prosecutor
5
      General had been fired in February 2016, in other words, when Public
6
      Official 1 had no ability to influence U.S. policy and when the
7

8     Prosecutor General was no longer in office.            Id.    In short, Smirnov

9     transformed his routine and unextraordinary business contacts with

10    Burisma in 2017 and later into bribery allegations against Public
11    Official 1, the presumptive nominee of one of the two major political
12
      parties for President, after expressing bias against Public Official
13
      1 and his candidacy.     Id.
14
           When he was interviewed by FBI agents in September 2023, Smirnov
15
      repeated some of his false claims, changed his story as to other of
16

17    his claims, and promoted a new false narrative after he said he met

18    with Russian officials.     Id. at ¶ 6(e).

19         On February 14, 2024, a federal grand jury in the Central District
20
      of California returned a two-count indictment charging Smirnov with
21
      one count of making false statements to federal law enforcement, in
22
      violation of 18 U.S.C. § 1001 (Count One) and; one count of fabricating
23
      information in a federal investigation, in violation of 18 U.S.C.
24

25    § 1519 (Count Two).     United States v. Smirnov, Cr. No. 2:24-cr-00091-

26    ODW (C.D. Cal. Feb. 14, 2024, ECF 1).

27         That same day, Smirnov was arrested in the District of Nevada as
28    he returned to the United States on an international flight.              Smirnov
                                              4
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1     was scheduled to leave the United States two days later, on February
2     16, 2024, for a months-long, multi-country trip that, by his own
3
      description, involved meetings with officials of foreign intelligence
4
      agencies and governments.      During his custodial interview on February
5
      14,   Smirnov    admitted    that     officials     associated      with   Russian
6
      intelligence were involved in passing a story about Businessperson 1.
7

8           On February 15, 2024, Smirnov had an initial appearance in the

9     District of Nevada.     At that time the government moved for detention

10    pursuant to 18 U.S.C. § 3142(f)(2)(a) and (b) on the basis that Smirnov
11    posed a serious risk of flight and a serious risk of obstruction of
12
      justice.   The Government requested a three (3) day continuance of the
13
      detention hearing, pursuant to 18 U.S.C. § 3142(f)(2).
14
            A detention hearing was held scheduled in his matter on
15
      February 20, 2024, before United States Magistrate Judge Daniel J.
16

17    Albregts of the United States District Court for the District of

18    Nevada.    At that hearing, United States Magistrate Judge Albregts

19    found the government had proven that the defendant posed a serious
20
      risk of flight by a preponderance of the evidence but that the
21
      government had not proven by a preponderance of the evidence that no
22
      condition or combination of conditions could reasonably assure his
23
      appearance.     United States Magistrate Judge Albregts ordered Smirnov
24

25    released on a personal recognizance bond and conditions.

26                                III.      APPLICABLE LAW

27    A. Standard of Review

28          A de novo standard of review, not a deferential standard, is

                                               5
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1     applied to a district court’s review of a magistrate’s bail order.
2     United States v. Koenig, 912 F.2d 1190, 1192-93 (9th Cir. 1990).
3
      The court in Koenig made clear that the district court’s review is
4
      independent and that the district court may also hold an evidentiary
5
      hearing:
6
           [In reviewing a magistrate judge’s bail order, the
7          district court] should review the evidence before the
8          magistrate and make its own independent determination
           whether the magistrate’s findings are correct, with no
9          deference. If the performance of that function makes it
           necessary or desirable for the district judge to hold
10         additional evidentiary hearings, it may do so, and its
           power to do so is not limited to occasions when evidence
11         is offered that was not presented to the magistrate.
12
      Id. at 1193.
13
      B. The Bail Reform Act
14
           The Bail Reform Act of 1984 (“the Act”) permits pretrial
15
      detention of a defendant without bail where “no condition or
16
      combination of conditions will reasonably assure the appearance of
17

18    the person as required and the safety of any other person and the

19    community.” 18 U.S.C. § 3142(e). Detention is appropriate where a

20    defendant is either a danger to the community or a flight risk; it
21
      is not necessary to prove both. United States v. Motamedi, 767 F.2d
22
      1403, 1406 (9th Cir. 1985); United States v. Kouyoumdjian, 601 F.
23
      Supp. 1506, 1508-10 (C.D. Cal. 1985). A finding that a defendant
24
           Title 18, United States Code, Section 3142 (hereafter the “Bail
25

26    Reform Act”) specifically provides, in relevant part, that “the

27    judicial officer shall, in determining whether there are conditions

28

                                              6
     Case 2:24-cr-00091-ODW   Document 11   Filed 02/21/24   Page 9 of 24 Page ID #:65



1     of release that will reasonably assure the appearance of the person
2     as required” consider the following factors:
3
           (1) the nature and circumstances of the offense charged …;
4
           (2) the weight of the evidence against the person;
5
           (3) the history and characteristics of the person,
6          including—
7               (A) the person’s character, physical and mental
8          condition, family ties, employment, financial resources,
           length of residence in the community, community ties, past
9          conduct, history relating to drug or alcohol abuse,
           criminal history, and record concerning appearance at court
10         proceedings; …
11
      18 U.S.C. § 3142(g); United States v. Santos-Flores, 794 F.3d
12
      1088, 1091 (9th Cir. 2015).      A finding that that there are no
13

14    conditions that will reasonably assure a Smirnov’s appearance

15    need only be established by a preponderance of the evidence.

16    Santos-Flores, 794 F.3d at 1090; United States v. Gebro, 948
17    F.2d 1118, 1121 (9th Cir.1991); United States v. Motamedi, 767
18
      F.2d 1403, 1407 (9th Cir. 1985).       “More finely put, this means
19
      that the Government must demonstrate that it is more likely than
20
      not that there is a serious risk that the Smirnov will flee, not
21
      that that it is more likely than not that the Smirnov will flee.
22

23    United States v. Figueroa-Alvarez, No. 4:23-CR-00171-DCN, 2023

24    WL 4485312, at *5 (D. Idaho July 10, 2023); see United States v.

25    Duarte-Vela, No. 2:23-cr-00009-TOR-1, Amended Order Following
26    Status Hearing Regarding Detention and Detention Hearing at 7
27
      (Dkt. 32) (E.D. Wa. Jan. 25, 2023); Alvarenga-Canan, No. 1:23-
28

                                              7
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1     cr-00042-BLW, Tr. at 7 (Dkt. 26) (“It's got to be 51 percent of
2     a serious risk.”).
3
      IV. THE DEFENDANT POSES A SERIOUS RISK OF FLIGHT AND THERE ARE NO
4
            CONDITIONS THAT CAN REASONABLY ASSURE HIS APPEARANCE
5

6           A.    Smirnov is charged with lying to law enforcement and
7                 fabricating evidence.
8

9           The nature and circumstances of the offense make clear that there

10    are no conditions of release that will reasonably assure the appearance

11    of Smirnov.     Pretrial supervision is, at its core, based on trust.

12    Pretrial Services must trust a defendant to abide by the conditions

13    the court imposes and to accurately report information requested by

14    Pretrial Services as they attempt to police those conditions.                     The

15    circumstances of the offenses charged—that Smirnov lied to his FBI

16    Handler after a 10-year relationship where the two spoke nearly every

17    day—means    that   Smirnov     cannot    be    trusted     to   provide    truthful

18    information to Pretrial Services.         Critically, Smirnov lied to his FBI

19    Handler after repeated admonishments that the information he provided

20    to the FBI must be truthful.           And the false information he provided

21    was not trivial.        It targeted the presumptive nominee of one of the

22    two major political parties in the United States.                  The effects of

23    Smirnov’s false statements and fabricated information continue to be

24    felt to this day.       Now the personal stakes for Smirnov are even higher.

25    His freedom is on the line.            If he could not be trusted to report

26    truthful information to his FBI Handler, he cannot be trusted to report

27    truthful information to Pretrial Services.

28

                                                8
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1           B.      The weight of the evidence against Smirnov is strong.

2           As described in the indictment, the evidence against Smirnov is

3     strong.

4           In sum, Smirnov’s own travel records, emails and messages with

5     his Handler, along with emails and travel records of the individuals

6     who Smirnov claimed to have attended the two meetings with him, will

7     all be used as evidence against him.               Further, the individuals who

8     participated in these meetings and phone calls will refute that there

9     was ever any discussion of Public Official 1 or Businessperson 1 in
10    those meetings or any phone calls at all.
11          C.      The history and characteristics of Smirnov make clear that
12                  no conditions can reasonably assure his appearance.
13

14          Smirnov’s personal history and characteristics also weigh in favor

15    of detention. Smirnov has very weak ties to the community in Las Vegas.

16    He has only lived in Las Vegas since 2022.                  Exhibit 11 at 1.         The

17    condominium where he lives is owned by DL, a fact about which he lied,

18    as will be addressed below.          Exhibit 1 (under seal).        He has no family

19    in Las Vegas.       To the contrary, he reports that his mother, father,

20    and sister all reside in Israel.             Id.    Smirnov lived in Israel from

21    1992 to 2006, longer than he has lived in the United States.                   Id.     He

22    does not report any employment that is located in Las Vegas.                   Instead,

23    he   claims    to   have    a   “security   business,”     that   is    registered     in

24    California, where he used to live.           See Exhibit 11 at 2.        DL, with whom

25    he lives, does not appear to even know what he does.                   Id.   Nor do his

26    bank records reflect that he is in the “security business,” as he

27    claims.    Id.   Instead, the statements for the accounts he controls show

28    large wire transfers from what appear to be venture capital firms and

                                                  9
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1     individuals.       See Exhibit 4 (under seal).

2          1. Smirnov    claims    to   have   contact     with    foreign    intelligence
3            agencies.
4
             While Smirnov has no ties to the community in Las Vegas, what he
5
      does have is extensive foreign ties, including, most troublingly and
6
      by    his   own   account,   contact     with   foreign     intelligence   services,
7
      including Russian intelligence agencies, and has had such contacts
8
      recently.     Smirnov could use these contacts to resettle outside the
9
      United States.
10
             As noted, law enforcement knows about Smirnov’s contact with
11
      officials affiliated with Russian intelligence because Smirnov himself
12
      reported on a number of those contacts to his FBI Handler. As described
13
      below, these contacts are extensive and extremely recent, and Smirnov
14
      had the intention of meeting with one of these officials on his
15
      upcoming planned overseas travel.
16
             Of particular note, Smirnov has reported numerous contacts with
17
      Russian Official 1, who has been described by Smirnov in a number of
18
      ways, including as the son of a former high-ranking Russian
19
      government official, someone who purportedly controls two groups of
20
      individuals tasked with carrying out assassination efforts in a
21
      third-party country, a Russian representative to another country,
22
      and as someone with ties to a particular Russian intelligence
23
      service.     This latter fact was reported by Smirnov in October, 2023.
24
             In December 2023, Smirnov reported to his Handler about a recent
25
      overseas trip, where Smirnov attended a meeting with Russian Official
26
      2, who Smirnov has described as a high-ranking member of a specific
27
      Russian foreign intelligence service.                According to Smirnov, the
28
      purpose of the meeting was to discuss a potential resolution to
                                    10
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1     Russia’s    war   against     Ukraine.       During       this    same     trip,    Smirnov

2     apparently attended a separate meeting with Russian Official 1, the

3     individual    who     controls    groups     that     are        engaged    in     overseas

4     assassination efforts.        During this meeting with Russian Official 1,

5     Russian Official 1 claimed that another individual, Russian Official

6     4, the head of a particular unit of a Russian Intelligence Service,

7     ran an intelligence operation at a “club” located at a particular

8     hotel. Smirnov told the FBI Handler that the Russian Intelligence

9     Service intercepted cell phone calls made by guests at the hotel. The
10    Russian    Intelligence      Service   intercepted        several     calls      placed   by
11    prominent U.S. persons the Russian government may use as “kompromat”
12    in the 2024 election, depending on who the candidates will be.                            As
13    described below, this story, which again was relayed by Smirnov to his
14    Handler in/about December, 2023, appears to mirror the story that
15    Smirnov was pushing on investigators and prosecutors during their
16    meeting    with   him   in    September,     2023     (in     which      Smirnov    pushed
17    investigators to look into whether Businessperson 1 had been recorded
18    in a foreign hotel).

19           Most recently, Smirnov has reported:

20       •   Meetings in or about December 2023, outside the United States,
21           between top officials of another country and Russian officials;
22
         •   Contact with a Russian official on November 27, 2023, where the
23
             Russian official provided Smirnov with information on his
24
             knowledge of certain Russian military operations in a third
25

26           country; and

27       •   Contact with a Russian intelligence service operative and top
28           Russian representative to a third country on November 8, 2023.
                                                 11
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1     Exhibit 2.

2           The following is a declassified summary of additional contacts

3     that predate the contacts referenced above and in Exhibit 2.                  This

4     summary was prepared by the FBI and taken from several reports he made

5     to the FBI:

6
         1. (U//FOUO) (Document 1)
7              a. (U//FOUO) In or about October 2023, SMIRNOV reported the
                  following:
8
                    i. (U//FOUO) SMIRNOV was invited to and planned to
9                       attend the birthday party of an identified
                        individual in the Middle East, COUNTRY A, which
10                      would include activities on a mega yacht owned by a
                        high-ranking member of Russia’s largest steel and
11                      mining company. SMIRNOV provided the names of
                        individuals who might attend the birthday
12                      activities, including RUSSIAN OFFICIAL 1, who he
13                      identified as the son of a high-ranking former
                        Russian government official, and RUSSIAN INDIVIDUAL
14                      1, a high-ranking member of a Russia state-owned
                        defense conglomerate.
15
         2. (U//FOUO) (Document 2)
16             a. (U//FOUO) In or about January 2023, SMIRNOV reported the
17                following:
                    i. (U//FOUO) In December 2022, SMIRNOV learned from a
18                      Russian Foreign Intelligence official the
                        whereabouts of a particular Russian Foreign
19                      Intelligence officer living outside of Russia.
                   ii. (U//FOUO) In or about January 2023, SMIRNOV spoke to
20                      another Russian Foreign Intelligence officer who
                        provided the first name of the Russian Foreign
21
                        Intelligence officer living outside of Russia.
22
         3. (U//FOUO) (Document 3)
23             a. (U//FOUO) On or about August 2023, SMIRNOV reported the
                  following:
24                  i. (U//FOUO) SMIRNOV had been introduced to RUSSIAN
                        INDIVIDUAL 2, a high-ranking member of a Russian
25
                        steel company. RUSSIAN INDIVIDUAL 2 was organizing
26                      a birthday party for another person on RUSSIAN
                        INDIVIDUAL 2’s mega yacht. RUSSIAN INDIVIDUAL 2
27                      mentioned that two of the oligarchs who would be
                        attending the party have “connections” or “business
28                      ties” to a high-ranking member of a Russian Foreign
                                              12
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1                        Intelligence Service, RUSSIAN OFFICIAL 2. Because of
                         the language used by RUSSIAN INDIVIDUAL 2, SMIRNOV
2                        was not clear about the precise nature of the
                         relationship between the identified Russian
3
                         oligarchs and RUSSIAN OFFICIAL 2, a high-ranking
4                        member of a Russian Foreign Intelligence Service.

5        4. (U//FOUO) (Document 4)
               a. (U//FOUO) In or about October 2023, SMIRNOV reported the
6                 following information (this information was provided to
                  supplement Document 1):
7                   i. (U//FOUO) The planned COUNTRY A birthday party may be
8                       attended by RUSSIAN OFFICIAL 1, the son of a former
                        high-ranking Russian government official. An
9                       associate of SMIRNOV provided SMIRNOV with a copy of
                        RUSSIAN OFFICIAL 1’s passport.
10
         5. (U//FOUO) (Document 5)
11             a. (U//FOUO) In or about November 2023, SMIRNOV reported the
12                following information:
                    i. (U//FOUO) SMIRNOV learned from RUSSIAN OFFICIAL 1
13                      himself, that RUSSIAN OFFICIAL 1 has direct access
                        to the highest levels of the Russian government.
14                      Although RUSSIAN OFFICIAL 1’s father was a former
                        high-ranking government official in Russia, RUSSIAN
15                      OFFICIAL 1’s access to the highest levels of the
                        Russian government is direct, and not through his
16
                        father.
17                 ii. (U//FOUO) RUSSIAN OFFICIAL 1 is a top, unofficial
                        representative of Russia to COUNTRY B.
18                iii. (U//FOUO) SMIRNOV provided a photograph of RUSSIAN
                        OFFICIAL 1 taken in or about November 2023, during
19                      RUSSIAN OFFICIAL 1’s visit to COUNTRY A.
20
         6. (U//FOUO) (Document 6)
21             a. (U//FOUO) In or about November 2023, SMIRNOV reported the
                  following information:
22                  i. (U//FOUO) SMIRNOV learned from sources, including
                        RUSSIAN OFFICIAL 1, that a particular individual,
23                      RUSSIAN OFFICIAL 3, is the representative of the
                        former head of a particular unit of a Russian
24                      Intelligence Service, RUSSIAN OFFICIAL 4.
25                 ii. (U//FOUO) SMIRNOV provided information about RUSSIAN
                        OFFICIAL 4’s chain of command. SMIRNOV named three
26                      individuals who have direct, immediate access to the
                        highest levels of the Russian government, including
27                      the father of RUSSIAN OFFICIAL 1.
28

                                              13
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1

2        7. (U//FOUO) (Document 7)
               a. (U//FOUO) In or about December 2023, SMIRNOV reported the
3
                  following information (which is also reported in Document
4                 6).
                    i. (U//FOUO) SMIRNOV learned from sources, including
5                       RUSSIAN OFFICIAL 1, that a particular individual,
                        RUSSIAN OFFICIAL 3, is the representative of the
6                       former head of a particular unit of a Russian
                        Intelligence Service, RUSSIAN OFFICIAL 4.
7

8        8. (U//FOUO) (Document 8)
               a. (U//FOUO) In or about November 2023, SMIRNOV reported the
9                 following information:
                    i. (U//FOUO) In October 2023, SMIRNOV had in-person
10                      conversations with RUSSIAN OFFICIAL 1
                        overseas. During these conversations, RUSSIAN
11                      OFFICIAL 1 discussed his knowledge and seeming
12                      control of two groups of Russian operatives who were
                        previously tasked with the assassination of a high-
13                      ranking official of COUNTRY C. RUSSIAN OFFICIAL 1
                        offered to stop the assassination efforts in
14                      exchange for certain things, including an agreement
                        by COUNTRY C to stop targeting civilian-family-
15                      members of certain Russian officials living in
                        Moscow.
16
                   ii. (U//FOUO) RUSSIAN OFFICIAL 1 also provided SMIRNOV
17                      with specific information about Russia’s military
                        resources for a winter attack in COUNTRY C. RUSSIAN
18                      OFFICIAL 1 also told SMIRNOV about the Russian
                        government’s intentions for their war in Ukraine.
19
         9. (U//FOUO) (Document 9)
20
               a. (U//FOUO) In or about December 2023, SMIRNOV reported the
21                following information:
                    i. (U//FOUO) SMIRNOV attended a meeting in COUNTRY A in
22                      December 2023 that was attended by RUSSIAN OFFICIAL
                        2, a high-ranking member of a Russian Foreign
23                      Intelligence Service. The primary purpose of the
                        meeting was to discuss a potential resolution to the
24                      Russia-Ukraine war.
25                 ii. (U//FOUO) On this same trip, SMIRNOV attended another
                        meeting with, among others, RUSSIAN OFFICIAL 1.
26                iii. (U//FOUO) Unrelated to the above, SMIRNOV had a
                        separate conversation with RUSSIAN OFFICIAL 1,
27                      wherein RUSSIAN OFFICIAL 1 claimed that RUSSIAN
                        OFFICIAL 4, the head of a particular unit of a
28                      Russian Intelligence Service, ran an intelligence
                                              14
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1                       operation at a “club” located on a particular floor
                        of HOTEL 1, which is in COUNTRY C. SMIRNOV stated
2                       the Russian Intelligence Service intercepted cell
                        phone calls made by guests at the hotel. The Russian
3
                        Intelligence Service intercepted several calls
4                       placed by prominent US persons the Russian
                        government may use as “kompromat” in the 2024
5                       election, depending on who the candidates will be.
                   iv. (U//FOUO) SMIRNOV later had a meeting with another
6                       COUNTRY C government official, who stated it was
                        common knowledge that the Russian Intelligence
7                       Service did, in fact, run such intelligence
8                       operations at HOTEL 1.

9        10.      (U//FOUO) (Document 10)
               a. (U//FOUO) In or about February 2022, SMIRNOV provided the
10                following information:
                    i. (U//FOUO) When SMIRNOV was working in COUNTRY D circa
11                      2002, he conducted a joint operation to recruit two
12                      individuals: 1) RUSSIAN OFFICIAL 5, Russian consular
                        to COUNTRY D, who was caught spying; and, 2) a
13                      COUNTRY E consular to COUNTRY D.
                   ii. (U//FOUO) SMIRNOV first met RUSSIAN OFFICIAL 5 at an
14                      event/party COUNTRY D put on for foreign officials.
                        Thereafter, SMIRNOV spent numerous months developing
15                      a “friendship” with RUSSIAN OFFICIAL 5. After some
                        time, SMIRNOV was asked by COUNTRY D to contact
16
                        RUSSIAN OFFICIAL 5 and tell them that COUNTRY D had
17                      info that RUSSIAN OFFICIAL 5 was spying. Rather than
                        arresting/PNGing RUSSIAN OFFICIAL 5, COUNTRY D told
18                      RUSSIAN OFFICIAL 5 had to leave within 48 hours or
                        there would be “adverse consequences”, but that
19                      RUSSIAN OFFICIAL 5 should keep in touch with COUNTRY
                        D and SMIRNOV. Thereafter, RUSSIAN OFFICIAL 5 would
20
                        occasionally provide SMIRNOV with information.
21                      RUSSIAN OFFICIAL 5 never provided information that
                        was “adverse” to Russia.
22                iii. (U//FOUO) Approximately three years before the time
                        of this reporting, possibly in 2019, SMIRNOV
23                      traveled to Russia and met with RUSSIAN OFFICIAL 5.
                        They had a very careful, coded conversation about
24                      what Russia might look like under different
25                      leadership. For background, SMIRNOV understood that
                        RUSSIAN OFFICIAL 5’s spouse is somehow related to
26                      RUSSIAN OFFICIAL 6, a former high-ranking member of
                        a Russian Intelligence Service. SMIRNOV has never
27                      met RUSSIAN OFFICIAL 6, however SMIRNOV once called
                        RUSSIAN OFFICIAL 5 who was in the car at the time
28

                                              15
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1                         with RUSSIAN OFFICIAL 6, who spoke very briefly to
                          SMIRNOV over speaker phone.
2                  iv.   (U//FOUO) During a subsequent meeting two days later,
                          SMIRNOV and RUSSIAN OFFICIAL 5 spoke again about
3
                          matters pertaining to Russia. RUSSIAN OFFICIAL 5
4                         indicated that RUSSIAN OFFICIAL 6 was not happy with
                          Russian leadership, and that RUSSIAN OFFICIAL 6 was
5                         also close friends/associates with RUSSIAN OFFICIAL
                          2, a high-ranking member of a Russian Foreign
6                         Intelligence Service.
                    v.   (U//FOUO) First call with RUSSIAN OFFICIAL 2 (High-
7                         ranking member of a Russian Foreign Intelligence
8                         Service): Prior to a recent overseas trip, SMIRNOV
                          contacted RUSSIAN OFFICIAL 5 to see if he could
9                         arrange to have RUSSIAN OFFICIAL 2, speak to a high-
                          ranking official of COUNTRY C. SMIRNOV contacted
10                        RUSSIAN OFFICIAL 5 and provided him with a proposed
                          date and time for RUSSIAN OFFICIAL 2 to call.
11                        SMIRNOV obtained a “throw-phone” and foreign SIM
12                        card and provided RUSSIAN OFFICIAL 5 with the
                          number. SMIRNOV indicated that a call subsequently
13                        took place between RUSSIAN OFFICIAL 2 and a high-
                          ranking official COUNTRY C, the subject matter of
14                        which SMIRNOV was aware.
                   vi.   (U//FOUO) Second call with RUSSIAN OFFICIAL 2 (High-
15                        ranking member of a Russian Foreign Intelligence
                          Service): In January 2022, SMIRNOV had a second call
16
                          with RUSSIAN OFFICIAL 2 (SMIRNOV used a second throw
17                        phone). SMIRNOV asked RUSSIAN OFFICIAL 2 for a
                          “favor”—namely that Russian troops do not hurt
18                        SMIRNOV’s associate, an official of COUNTRY C.
                          RUSSIAN OFFICIAL 2 asked what SMIRNOV thought of
19                        SMIRNOV’s associate. SMIRNOV later reiterated his
                          “ask” that his associate not be harmed during any
20
                          Russian incursion. RUSSIAN OFFICIAL 2 said he was
21                        told by RUSSIAN OFFICIAL 5, who SMIRNOV “befriended”
                          years earlier after RUSSIAN OFFICIAL 5 was caught
22                        spying, that SMIRNOV was a “good guy,” and therefore
                          RUSSIAN OFFICIAL 2 would help to ensure SMIRNOV’s
23                        associate was not killed or harmed.
                 vii.    (U//FOUO) Third call with RUSSIAN OFFICIAL 2 (High-
24                        ranking member of a Russian Foreign Intelligence
25                        Service): After SMIRNOV returned from his overseas
                          trip, he again asked RUSSIAN OFFICIAL 5 to set up
26                        another call with RUSSIAN OFFICIAL 2. During the
                          call, SMIRNOV discussed the additional escalation of
27                        Russian troops along the Ukraine border and asked
                          RUSSIAN OFFICIAL 2 whether he could provide any
28                        details about Russia’s intentions. RUSSIAN OFFICIAL
                                              16
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1                        2 stated he was 99% that only a skirmish would
                         occur.
2
         11.      (U//FOUO) (Document 11)
3
               a. (U//FOUO) In or about October 2023, SMIRNOV provided the
4                 following information:
                    i. (U//FOUO) Photo of passport of RUSSIAN OFFICIAL 1.
5                  ii. (U//FOUO) In October 2023, SMIRNOV advised that
                        RUSSIAN OFFICIAL 1, the son of a high-ranking former
6                       Russian government official, was invited to attend a
                        birthday party in October 2023 in COUNTRY A, which
7                       will be held on RUSSIAN INDIVIDUAL 2's mega yacht.
8                       SMIRNOV received a copy of RUSSIAN OFFICIAL 1's
                        Russian passport.
9
            Smirnov’s anticipated travel from the United States, on Friday
10
      of last week, two days after his return, was for the purpose of meeting
11
      with Russian intelligence officials, among others.              Specifically:
12

13       12.      (U//FOUO) (Document 12)
               a. (U//FOUO) In or about January 2024, SMIRNOV provided the
14                following information. The information was recorded in an
15                FD-1040a, CHS travel/ET Activity Request Form.
                    i. SMIRNOV reported future travel and meeting
16                      itineraries to his FBI Handler, which outlined
                        travel to various countries in February 2024.
17                      SMIRNOV planned to meet with RUSSIAN OFFICIAL 1, an
                        operative of a Russian Intelligence Service. The
18                      primary purpose of the meeting with RUSSIAN OFFICIAL
19                      1 was to discuss the exchange of Russian and
                        Ukrainian military prisoners. The meeting was set to
20                      occur in COUNTRY A.

21
            Smirnov’s contacts with Russian officials who are affiliated with
22
      Russian intelligence services are not benign.            At his meeting with FBI
23
      investigators in September 2023, Smirnov pushed a new story about
24
      Public Official 1 and Businessperson 1, as described in the indictment.
25
      Indictment at ¶51.        Specifically, Smirnov wanted them to look into
26
      whether Businessperson 1 was recorded in a hotel in Kiev called the
27
      Premier Palace.         Id.   Smirnov told investigators that the entire
28
      Premier Palace Hotel is “wired” and under the control of the Russians.
                                         17
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1     Id. Smirnov claimed that Businessperson 1 went to the hotel many times

2     and that he had seen video footage of Businessperson 1 entering the

3     Premier Palace Hotel. Id.           Investigators know that Smirnov’s new story

4     is false because Businessperson 1 has never travelled to Ukraine.                            Id.

5     at ¶ 54.

6           Smirnov       suggested       that     investigators           check     to     see     if

7     Businessperson 1 made telephone calls from the Premier Palace Hotel

8     since those calls would have been recorded by the Russians.                          Id. at ¶

9     52.   Smirnov claimed to have obtained this information a month earlier
10    by calling a high-level official in a foreign country.                         Id.    Smirnov
11    also claimed to have learned this information from four different
12    Russian officials.         Id.
13          Smirnov      told   investigators           that    the    four   different     Russian
14    officials are all top officials and two are the heads of the entities
15    they represent.         Id. at ¶ 53.       These Russians said that conversations
16    with Ukrainians about ending the war will include the next U.S.
17    election.        Smirnov told investigators he is involved in negotiations
18    over ending the war and had been for the previous four months.                               Id.

19    According     to    Smirnov,      the   Russians          want     Ukraine    to    assist    in

20    influencing       the   U.S.     election,    and        Smirnov    thinks    the    tapes    of

21    Businessperson 1 at the Premier Palace Hotel is all they have.                               Id.

22    Smirnov told investigators he wants them to ask Businessperson 1 how

23    many times he visited and what he did while at the Premier Palace

24    Hotel.     Id.

25          Thus,      Smirnov’s       efforts     to    spread        misinformation      about    a

26    candidate of one of the two major parties in the United States

27    continues.         The Court should consider this conduct as well when

28    evaluating his personal history and characteristics.                         What this shows

                                                    18
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1     is that the misinformation he is spreading is not confined to 2020.

2     He is actively peddling new lies that could impact U.S. elections

3     after meeting with Russian intelligence officials in November.                      In

4     light of that fact there is a serious risk he will flee in order to

5     avoid accountability for his actions.

6        2. Smirnov has access to millions of dollars that he did not
7           disclose to Pretrial Services.
8
            Smirnov has already demonstrated that he cannot be trusted to
9
      provide truthful information to Pretrial Services.                  When he     was
10
      interviewed, he told Pretrial Services that he only had access to
11
      $1,500 in cash and another $5,000 in a checking account.              See Exhibit
12
      11 at 2.
13
            That is not true.      Smirnov is the sole signatory on a Bank of
14
      America business checking account ending with 3928 in the name of
15
      Avalon Group Inc. (hereafter “BOA 3928”) Exhibit 3 (under seal).                    As
16
      of December 31, 2023, BOA 3928 had a balance of $2,917,496.61. Exhibit
17
      4 (under seal).     The fact that Smirnov lied to Pretrial Services in
18
      his very first interaction with them establishes conclusively that
19
      there are no conditions that could reasonably assure his appearance.
20
      That is because the effectiveness of any condition or combination
21
      relies on Pretrial Services ability to obtain truthful information
22
      from Smirnov.
23
            Smirnov uses BOA 3928 to fund his and DL’s lifestyle, although
24
      the transfers themselves look like payments from a business, “Avalon
25
      Group, Inc.” to DL.     From February 2020, when the account was opened,
26
      through December 31, 2022, Smirnov withdrew $1,737,500 to purchase
27
      cashier’s checks in the name of “Avalon Group Inc.” and payable to DL.
28
      Id.   Those cashier’s checks were then deposited in DL’s account, in
                                        19
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1     some cases within 30 minutes of Smirnov withdrawing the funds to

2     purchase the checks.        See Exhibit 10 (under seal).           DL deposited these

3     cashier’s checks into one of her accounts at a branch near where

4     Smirnov withdrew the funds.          Id.     For example, on October 13, 2020, a

5     withdrawal was conducted by Avalon Group Inc. in the amount of $599,000

6     from BOA 3928. Exhibit 5 (under seal).               The transaction was conducted

7     at a Bank of America branch located in San Juan Capistrano, California.

8     Id. A handwritten note on the withdrawal slip identified “CADL XXXX349

9     4/26/2022,” which was Smirnov’s California driver's license.                         Id.
10    Immediately following the withdrawal, Bank of America official check
11    1145711247 in the amount of $599,000 payable to DL was purchased using
12    the funds. Exhibit 6 (under seal).                 On October 14, 2020, Bank of
13    America official check 1145711247 was deposited to DL's Wells Fargo
14    account ending 1356, for which she is the sole signer. Id.                           The
15    transaction was conducted at a Wells Fargo branch located in San Juan
16    Capistrano, California.        Id.    The withdrawal from BOA 3928 was funded
17    by   a    previous   wire   transfer   of      $600,000     received    from   Economic
18    Transformation Technologies Corporation on September 22, 2020.                       The

19    BOA 3928 account balance prior to receipt of the wire transfer was

20    approximately $31.

21             Smirnov also wired DL $785,000 in two payments, $740,000 at the

22    end of 2020 and another $45,000 at the end of 2022.                  Exhibit 4 (under

23    seal).

24             As of February 1, 2024, DL had $3,827,460 in her Wells Fargo

25    account ending in 1356.        Exhibit 7 (under seal).

26             In 2022 and 2023, after Smirnov began making these substantial

27    transfers to DL, albeit using cashier’s checks that make it appear she

28    is receiving the funds from a business, “Avalon Group Inc.,” DL made

                                                   20
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1     payments to Smirnov’s Citi credit card, which is the primary means by

2     which   he   pays   personal    expenses.        See     Exhibit     10    (under     seal).

3     Specifically, in 2022, DL paid $108,916.52 towards Smirnov’s Citi

4     credit card debt and in 2023, she paid $275,869.44.                      Id.

5           Smirnov   told    Pretrial     Services     that      he    lives   with   DL    in   a

6     condominium she leases.        See Exhibit 11 at 1.              That is also not true.

7     The attached report shows she is in fact the owner, having purchased

8     it on February 28, 2022, for the sale price of $1,425,000.                     See Exhibit

9     1 (under seal).      In February 2022, DL purchased a condominium in Las
10    Vegas where she and Smirnov reside.               Id.       While the condominium is
11    titled in her name, she purchased it after receiving more than $2.4
12    million from Smirnov.        See Exhibit 10 (under seal).
13          Smirnov also withdrew $174,219 in cash from the account, including
14    $60,304.25 in 2023.       Exhibit 4 (under seal).            In addition to DL paying
15    his personal expenses, Smirnov also pays various personal expenses out
16    of this account including gasoline, credit card payments, restaurants,
17    duty free shopping and others.           Id.
18          The    government    assumes      that   Smirnov      did    not    disclose    these

19    substantial assets to the Court                when he submitted his financial

20    affidavit.      That is because while the government has not seen the

21    affidavit, the Court appointed the Office of                       the Federal Public

22    Defender to represent Smirnov at his initial appearance.                         The court

23    specifically admonished Smirnov that he was submitting his financial

24    affidavit under the penalties of perjury.                  If he did not disclose his

25    substantial assets the this is a second example of an instance where

26    Smirnov lied to the Court.

27          In the event that Smirnov did not disclose these assets, the

28    government respectfully requests that the Court release the affidavit

                                                  21
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1     to the government so that the government can consider whether to charge

2     Smirnov with perjury.

3        3. Smirnov can obtain an Israeli passport at any time.
4           Finally, the Court should also consider that Smirnov is a dual
5     national who holds both U.S. citizenship, and a U.S. passport, and
6     Israeli citizenship, and an Israeli passport.              While Smirnov can be
7     ordered to turn both passports in to Pretrial Services and could be
8     prohibited from obtaining a new U.S. passport, he cannot be prohibited
9     from obtaining a new Israeli one.        He can obtain a new Israeli passport
10    in the United States by visiting any one of Israel’s consulates in
11    Washington, DC, New York, Houston, Miami or Los Angeles.              See Exhibits
12    8 and 9.
13                                      V.     Conclusion
14          Based on the above, this Court should conclude that no condition
15    or combination of conditions will reasonably assure the appearance of
16    the Smirnov as required and order him detained pending trial.
17

18

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                                               22
